                Case 24-15755-LMI       Doc 56     Filed 07/22/24      Page 1 of 3




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov

                                                             Chapter 11
In re:
                                                             Case No. 24-15755-LMI
IVANKOVICH FAMILY LLC                                        (Jointly Administered)
A&O FAMILY LLC,                                                        24-15762- LMI
A & O FAMILY LLC,                                                      24-15767- LMI
ATLAS P2 MANAGING MEMBER, LLC,                                         24-15770- LMI

         Debtors.
                                             /


                           NOTICE TO WITHDRAW DOCUMENT

         Undersigned counsel hereby files this notice to withdraw Debtors' Third Motion To Extend

Time To File Schedules Declaration Concerning Schedules And Statement Of Financial Affairs

(ECF 50) filed on July 19, 2024 in this bankruptcy action.

Dated: July 22, 2024                         Respectfully submitted,

                                             By: /s/ Amanda Klopp
                                             Eyal Berger, Esq.
                                             Florida Bar No: 011069
                                             eyal.berger@akerman.com
                                             AKERMAN LLP
                                             201 E. Las Olas Blvd., Suite 1800
                                             Fort Lauderdale, Florida 33301
                                             Tel: (954) 463-2700/Fax: (954) 463-2224
                                             -and-
                                             Amanda Klopp, Esq.
                                             Florida Bar No. 124156
                                             Email: amanda.klopp@akerman.com
                                             AKERMAN LLP
                                             777 South Flagler Drive
                                             Suite 1100 – West Tower
                                             West Palm Beach, Florida 33401
                                             Tel: 561-653-5000 /Fax: 561-659-6316
                                             Proposed Counsel for Debtors




77333250;1
                 Case 24-15755-LMI            Doc 56        Filed 07/22/24     Page 2 of 3




                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 22, 2024, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

served on this day by transmission of Notices of Electronic Filing generated by CM/ECF to those

parties registered to receive electronic notices of filing in this case or via U.S. mail as listed in the

below service list.

                                               /s/ Amanda Klopp
                                               Amanda Klopp, Esq.

SERVICE LIST

24-15755-LMI Notice will be electronically mailed to:

Eyal Berger, Esq. on behalf of Debtor A & O Family LLC
eyal.berger@akerman.com, jeanette.martinezgoldberg@akerman.com

Eyal Berger, Esq. on behalf of Debtor A&O Family LLC
eyal.berger@akerman.com, jeanette.martinezgoldberg@akerman.com

Eyal Berger, Esq. on behalf of Debtor Altas P2 Managing Member LLC
eyal.berger@akerman.com, jeanette.martinezgoldberg@akerman.com

Eyal Berger, Esq. on behalf of Debtor Ivankovich Family LLC
eyal.berger@akerman.com, jeanette.martinezgoldberg@akerman.com

Eyal Berger, Esq. on behalf of Interested Party A&O Family LLC
eyal.berger@akerman.com, jeanette.martinezgoldberg@akerman.com

Eyal Berger, Esq. on behalf of Interested Party A&O Family LLC (Illiniois)
eyal.berger@akerman.com, jeanette.martinezgoldberg@akerman.com

Eyal Berger, Esq. on behalf of Interested Party Altas P2 Managing Member LLC
eyal.berger@akerman.com, jeanette.martinezgoldberg@akerman.com

Dan L Gold on behalf of U.S. Trustee Office of the US Trustee
Dan.L.Gold@usdoj.gov

Gary A Goldstein on behalf of Debtor A & O Family LLC
gagpa@aol.com, michael@rglawfirm.us

Gary A Goldstein on behalf of Debtor A&O Family LLC
gagpa@aol.com, michael@rglawfirm.us

Gary A Goldstein on behalf of Debtor Altas P2 Managing Member LLC
gagpa@aol.com, michael@rglawfirm.us




77333250;1
                                                      -2-
                 Case 24-15755-LMI           Doc 56         Filed 07/22/24   Page 3 of 3



Gary A Goldstein on behalf of Debtor Ivankovich Family LLC
gagpa@aol.com, michael@rglawfirm.us

Amanda Klopp on behalf of Debtor A & O Family LLC
amanda.klopp@akerman.com, jeanette.martinezgoldberg@akerman.com

Amanda Klopp on behalf of Debtor A&O Family LLC
amanda.klopp@akerman.com, jeanette.martinezgoldberg@akerman.com

Amanda Klopp on behalf of Debtor Altas P2 Managing Member LLC
amanda.klopp@akerman.com, jeanette.martinezgoldberg@akerman.com

Amanda Klopp on behalf of Debtor Ivankovich Family LLC
amanda.klopp@akerman.com, jeanette.martinezgoldberg@akerman.com

Amanda Klopp on behalf of Interested Party A&O Family LLC
amanda.klopp@akerman.com, jeanette.martinezgoldberg@akerman.com

Amanda Klopp on behalf of Interested Party A&O Family LLC (Illiniois)
amanda.klopp@akerman.com, jeanette.martinezgoldberg@akerman.com

Amanda Klopp on behalf of Interested Party Altas P2 Managing Member LLC
amanda.klopp@akerman.com, jeanette.martinezgoldberg@akerman.com

Ari Newman, Esq. on behalf of Interested Party RBC Capital Markets, LLC and Royal Bank of Canada
newmanar@gtlaw.com, perezan@gtlaw.com;mialitdock@gtlaw.com;miaecfbky@gtlaw.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Patricia A Redmond on behalf of Creditor Jeanette Ivankovich
predmond@stearnsweaver.com,
jmartinez@stearnsweaver.com;cgraver@stearnsweaver.com;jless@stearnsweaver.com;mfernandez@stearnsweaver.
com

24-15755-LMI Notice will not be electronically mailed to:

Andrew Hahm
Mandell Hahm Advisory Group, Ltd.
1033 Skokie Blvd., Suite 330
Northbrook, IL 60062




77333250;1
                                                    -3-
